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 7

 8                  IN THE UNITED STATES DISTRICT COURT
 9              FOR THE NORTHERN DISTRICT OF CALIFORNIA
10

11   IN RE: CATHODE RAY TUBE        )             Master File No. CV-07-5944 SC
12   (CRT) ANTITRUST LITIGATION )
                                    )             MDL No. 1917
13
                                    )             (Honorable Samuel Conti)
14                                  )
                                    )             CLASS MEMBER DONALD
15
                                    )             SILVESTRI’S OBJECTION TO
16                                  )             FEE REQUEST AND
                                    )             EXPENSE REQUEST
17
     _______________________________)
18                                  )
     This document relates to:      )
19
                                    )
20   ALL INDIRECT PURCHASER         )
     ACTIONS                        )
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     ______________________________ )
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                             Objection To Fee and Expense Request
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 1           Objecting class member Donald Silvestri (“Silvestri” or “Objector”), by and
 2   through his counsel, respectfully submits this Objection to this Honorable Court
 3   awarding attorneys’ fees in excess of 10% and granting the attorneys $5 million to
 4   be used in anticipated expenses for the remainder of the litigation without any
 5   oversight.
 6           Objector is a member of the damages class that was preliminarily approved
 7   by the court for the purpose of settlement of this matter. (See Certification of
 8   Donald Silvestri attached hereto as Exhibit A and incorporated herein by reference).
 9

10   I.      BACKGROUND OF THE CATHODE RAY TUBE SETTLEMENT
11           This lawsuit was filed in 2008 on behalf of indirect purchasers of Cathode
12   Ray Tube (hereinafter “CTR”) products for their own use and not re-sale from
13   March 1, 1996 through November 25, 2007.
14           The Court preliminarily approved a Settlement Fund of $25,000,000 minus
15   attorneys’ fees, reimbursement of expenses and $5 million for costs going forward
16   in the litigation (a quasi-litigation fund). The defendants settling this portion of the
17   case are the following: LG Electronics, LG Electronics USA, Inc., and LG Taiwan
18   Taipei Co., Ltd. (the “LG Defendants”). As a result of just settling with the LG
19   Defendants, the case is still moving forward against the other defendants. Class
20   counsel did negotiate as part of the settlement that they receive $5 million from the
21   settlement as a litigation fund to continue with the litigation against the non-LG
22   Defendants. However, this is precisely the type of settlement Congress was
23   attempting to prevent by enacting the Class Action Fairness Act. See Class Action
24   Fairness Act of 2005, 28 U.S.C. Sections 1332 (d), 1453, and 1711-1715.
25   II.     ARGUMENT
26           A.    THE COURT SHOULD APPROVE THE SETTLEMENT
27           The Ninth Circuit’s decision in In re Mego Fin. Corp. Sec. Litig., 213 F.3d
28   454 (9th Cir. 2000), sets forth a list of factors that Courts should consider when
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 1   evaluating a settlement of representative litigation – mainly that the proposed
 2   settlement is fundamentally fair, adequate and reasonable. The Mego factors
 3   include the following: 1) the strength of plaintiffs’ case; 2) the risk, expense,
 4   complexity and likely duration of further litigation; 3) the risk of maintaining a class
 5   action status throughout the trial; 4) the amount offered in the settlement; extent of
 6   discovery completed; and 5) the reaction of the class members to the proposed
 7   settlement. Mego at 458. Here, Objector maintains that when the Mego factors are
 8   applied to this proposed settlement this Honorable Court should approve it.
 9            B.    THE ATTORNEYS SHOULD NOT RECEIVE A LEGAL FEE
10                  AT THIS TIME
11                  1.    THE CLASS IS RECEIVING NO BENEFIT
12            Based on the structure of the settlement, the class members are not receiving
13   any money or benefit from the $25 million. The best that can be said is the class
14   members may receive money when the litigation is completed against the non-LG
15   Defendants. In the final analysis, this settlement provides substantial legal fees for
16   the attorneys (33 1/3% of the $25 million), reimbursement of their future expenses
17   and another $5 million litigation fund for the attorneys to use to pay their fees and
18   costs. It does not, however, in a benefit to the class members. Class counsel with
19   undoubtedly argue they obtained a wonderful result for the class, but in actuality
20   they created no real benefit for the class members. Then, adding insult to injury,
21   they have the unmitigated gall to request attorneys’ fees up to thirty three and one
22   third (33 1/3%) of the $25 million where the standard benchmark for the Ninth
23   Circuit is 25%. Furthermore, class counsel’s proposal completely contradicts the
24   Supreme Court common fund doctrine which provides that a litigant or a lawyer
25   who recovers a common fund benefit of persons other than himself or his client is
26   entitled to a reasonable attorney fee from the fund as a whole. Boeing v. Van
27   Gemert, 444 U.S. 472, 62 L.Ed. 676, 100 S. Ct. 745 (1980).
28   ///
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 1                2.     THE ENRON CASE DEMONSTRATES THESE
 2                       ATTORNEYS DO NOT DESERVE A FEE NOW
 3         Major litigation was instituted against the insiders at Enron Corp., and its
 4   accountants, as a result of their fraud. See Newby et al. v. Enron Corp. et al., 394
 5   F.3d 296 (5th Cir. 2004). The lead plaintiffs firm there was Lerach Coughlin which
 6   was founded and run by William Lerach. Mr. Lerach was one of the most
 7   prominent securities attorney in the country and his lead client in the case was
 8   CALPERS. After about a year of litigation, Mr. Lerach was able to settle a portion
 9   of the case against one of the foreign defendants, AWSC, for $40 million.
10         Lerach Coughlin did not request a legal fee from that $40 million settlement
11   in Enron because the class was not receiving any money from that settlement.
12   Contrary to the attorneys here, the plaintiffs’ lawyers at the Lerach Coughlin firm
13   recognized they were not entitled to a legal fee from the $40 million settlement
14   because, quite simply, the class members received nothing. The same result should
15   pertain here. Class counsel should not get a fee from the $25 million settlement
16   because the Class gets nothing.
17                3.     THIS HONORABLE COURT SHOULD NOT APPROVE
18                       ATTORNEYS’ FEES IN EXCESS OF TEN PERCENT
19         Objector maintains that class counsel does not deserve a legal fee at this
20   juncture in the litigation especially if the court provides $5 million for on-going
21   litigation. However, if this Honorable Court is inclined to award attorneys’ fees at
22   this time, the legal fees must be limited to ten percent (10%) of the net settlement
23   fund. The following argument is presented in the alternative and only in the event
24   the Court deems fit to award any attorneys’ fees at this time.
25                4.     THIS COURT SHOULD APPLY THE STANDARDS OF IN
26                       RE WASH. PUB. POWER SUPPLY SYS. SEC. LITIG.
27         In the matter In Re Wash. Pub. Power Supply Sys. Sec. Litigation, 19 F.3d
28   1291 (9th Cir. 1994) (“Wash. Pub.”), the Ninth Circuit held that when determining
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 1   attorneys’ fees, the district court should be guided by the fundamental principle that
 2   fee awards out of common funds need to be reasonable under the circumstances. Id.
 3   at 1296. Moreover, even though the Ninth Circuit established twenty five percent
 4   (25%) of the Settlement Fund as the benchmark for awarding attorneys’ fees, the
 5   guiding principle remains that the fee award must be reasonable under the
 6   circumstances. Paul, Johnson, Alston & Hunt v. Graulty, 886 F.2d 268 (9th Cir.
 7   1989). The Ninth Circuit has instilled the district court with the discretion to award
 8   fees in common fund cases based on either the lodestar/multiplier method or the
 9   percentage of the fund method. Powers v. Eichen, 229 F.3d 1249, 1256 (9th Cir.
10   2000) and Wash. Pub., supra, at 1296.
11         Here, the class members will not receive any payment from the $25 million
12   settlement fund. Not one dollar. Indeed, the attorneys’ stand as the sole financial
13   benefactors of the fund. Because of this, and according to the Supreme Court in
14   Boeing v. Van Gemert, supra, they deserve no attorneys’ fees.
15                5.    A 10% ATTORNEYS’ FEE IS MORE THAN REASONABLE
16                      IN THIS MATTER
17         Objector maintains that the class attorneys should not receive any attorneys’
18   fees at this time. However, in the alternative, should this Honorable Court believe
19   legal fees should be awarded to counsel, Objector contends that fee should be
20   limited to 10% of the net settlement fund taking into account the expenses and
21   litigation cost awarded to handle this litigation. Awarding a fee of 33 1/3% would
22   be equal to $8,333,333.33 from the gross settlement. A fee of 10% would be equal
23   to $2,500,000.00 of the gross settlement fund. However, Objector contends the
24   attorneys’ fees must be awarded from the net Settlement Fund, not the gross amount
25   of $25,000,000. If fees are to be granted, a fee in the amount of ten percent (10%)
26   would be a reasonable fee given the adequate result associated with representing the
27   class on a contingency fee basis along with the high hourly rates incorporated in the
28   lodestar. Such a fee is especially reasonable where, as here, the class members
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 1   receive nothing. This is in line with the Ninth Circuit requirement that the fee be
 2   reasonable under the circumstances.1
 3                     6.       THIS COURT SHOULD FOLLOW THE REASONING THAT
 4                              PREVAILED IN RE PEOPLESOFT, INC. LITIGATION AND
 5                              LIMIT COUNSEL FEES TO 10% OF THE SETTLEMENT
 6                              FUND
 7            Again, Objector argues that the attorneys in this matter are not entitled to any
 8   attorneys’ fees at this time. However, should this Honorable Court disagree with
 9   Objector on this point, the attorneys’ fees must be limited to ten percent (10%). The
10   Court can follow the example it set In re Peoplesoft, Inc. Securities Litigation, N.D.
11   Cal., No. C 99-00472 (“Peoplesoft”). There, this Honorable Court granted
12   attorneys’ fees, but limited them to approximately seventeen percent (17%) of the
13   settlement fund. The Peoplesoft case settled for $15 million and the attorneys were
14   awarded a fee of $ 2,585,500.75. In Peoplesoft, counsel for the class spent thousands
15   of hours reviewing documents produced in discovery and took multiple depositions
16   of fact witnesses in the case. Still, the Court decided to use the 17% figure because
17   the results obtained for the class were at the low end of reasonableness such that the
18   attorneys did not earn the benchmark fee of 25% of common fund. The Court
19   should likewise limit plaintiffs’ counsel’s fee award, if any is to be given, to less
20   than $2 million.
21                     7.       ANY ATTORNEYS’ FEES AWARD MUST BE FROM THE
22                              NET SETTLEMENT FUND
23            Class counsel is requesting an award of $5,000,000 to setup a litigation fund.
24   Whatever this Honorable Court determines to be an appropriate fee award (if any),
25   that award must be from the Net Settlement Fund not the Gross Fund. This is the
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          Counsel for Objector does not have the total lodestar of the plaintiffs’ attorneys in this matter. However, careful
     scrutiny by the Court will demonstrate that the true lodestar of the attorneys in this matter was substantially less than
28   the $2 million that Objector believes is reasonable in this case.


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 1   standard in California. In fact, the American Bar Association Action Commission to
 2   Improve Tort Liability System recommended that all fees should be from Net
 3   Settlement Funds. The reasoning for that recommendation is that a contingent fee is
 4   justified as a sharing of the benefit the lawyer has achieved for the client, not of
 5   amounts paid to deposition reporters, experts, hotels and airlines. Thus, the better
 6   approach is to award a fee from the Net Settlement Funds. See Morganstein v.
 7   Esber, 768 F. Supp. 725, 727-28 (C.D. Cal. 1991) (Awarding a fee from the Net
 8   Settlement Fund encourages lawyers to be diligent in controlling expenses. Thus,
 9   the lawyers and the clients share the same goal which is to maximize the net
10   recovery).
11                8.     THE ATTORNEYS SHOULD NOT BE GIVEN FREE
12                       ACCESS TO MILLIONS OF DOLLARS FOR FURUTRE
13                       EXPENSES
14          Class counsel is requesting $5,000,000 of the Settlement Funds to be used as
15   a litigation fund to pay for the remaining litigation. Objector maintains this
16   Honorable Court should deny the request for the $5,000,000 litigation fund. In the
17   alternative, if the Court permits class counsel to receive monies to finance future
18   litigation, then those funds should be controlled by the Court, not counsel, so that
19   there is some level of oversight and the class members are protected. This Court
20   should actively scrutinize the expenses class counsel claims will be spent continuing
21   the litigation. Objector believes that if the attorneys are given free access to the
22   litigation fund because it will result in delayed resolution of the case.
23   III.   CONCLUSION
24          For all of the foregoing reasons and in the testimony to be submitted at the
25   hearing, Objector respectfully requests that this Honorable Court not approve
26   attorneys’ fees at all. However, if the Court believes that class counsel is entitled to
27   attorneys’ fees at this juncture, those fees should be limited to ten percent (10%) of
28   the net settlement fund as any greater award would be neither fair nor reasonable.
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 1         In addition to the issue of attorneys’ fees, this Honorable Court should not
 2   award class counsel $5,000,000 to serve as a litigation fund. However, if this
 3   Honorable Court is inclined to award a litigation fund, it should not permit class
 4   counsel to have unfettered control over the distribution of those funds.
 5

 6   DATED: March 19, 2014                             LAW OFFICES OF DAVID N. LAKE
 7

 8                                                     By:                 /s/
                                                             DAVID N. LAKE
 9                                                           Attorneys for Objector
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